      Case 1:17-cr-00077-SPW Document 58-9 Filed 09/04/18 Page 1 of 5



EXHIBIT I




Monaco – Coroners testimony regarding cause of death




                                      91
      Case 1:17-cr-00077-SPW Document 58-9 Filed 09/04/18 Page 2 of 5
                                           Page 58                                                 Page 60
 1          Let me ask you about the Supplemental        1           But it talks about the uncertainties of
 2   Toxicology Report.                                  2   postmortem Fentanyl levels.
 3       A. Yes.                                         3           All we can say is that's a significant
 4       Q. And that's Exhibit N is the formal           4   level. It showed he was using the patch. His
 5   one?                                                5   body was metabolizing, and it's a drug that
 6       A. Yes.                                         6   would add its effects as a narcotic to
 7       Q. Tell me what this -- well, first of          7   oxycodone, meperidine and diazepam.
 8   all, this report is dated January 24th, 2011.       8       Q. On the back of Exhibit N are reference
 9          And the positive findings are for            9   comments.
10   Fentanyl and Norfentanyl.                          10       A. Yes.
11          Is Norfentanyl, the metabolite?             11       Q. And I'm looking at the third paragraph
12       A. Yes, sir.                                   12   under No. 1. It says,
13       Q. And the result was -- of Fentanyl was       13             "After application of a
14   1.2 nanograms per milliliter in the blood.         14            fentanyl transdermal
15       A. Yes.                                        15            preparation (patch), serum
16       Q. And the Norfentanyl was 0.20 nanograms      16            fentanyl concentrations are
17   per milliliter in the blood, also.                 17            reported to be in the
18       A. Yes, sir.                                   18            following ranges within 24
19       Q. What's the significance of those            19            hours:"
20   results?                                           20           What is that trying to tell us, or what
21       A. Well, that meant that he had Fentanyl       21   is it telling us.
22   in his system appearing to be all from that        22       A. Well, that shows what you can expect to
23   patch that was on his left arm. It had been in     23   get in a living person, in a sample taken from a
24   the system long enough that he as able             24   living person, if they have been using a patch
25   metabolize to Norfentanyl.                         25   of those various concentrations, and generally,
                                           Page 59                                                 Page 61
 1         And there was a significant level found       1   I believe those are the four most common dosages
 2   in the blood, which was as a narcotic, a            2   you can get the patch dispensed in. He was
 3   narcotic that it's about probably, I think they     3   started on that 50 microgram per hour patch, not
 4   estimate Fentanyl's 80 times more potent than       4   the smallest one, and they estimate after 24
 5   morphine. So it's a very potent narcotic.           5   hours, if you put that patch on intact skin,
 6   Great pain reliever.                                6   don't heat it, use it appropriately, protect it,
 7         But, it was present in a significant          7   you'll get a level until your serum of -- the
 8   amount, and sufficient, in my opinion, to add to    8   watery part of your blood, that is, the serum,
 9   the effects of all the other drugs we talked        9   of between 0.6 and 1.8 nanograms per
10   about as far as those quantitated on the front.    10   milliliter. And that's not allowing for any
11       Q. Was it sufficient by itself to cause        11   postmortem redistribution. That's just in just
12   death?                                             12   the steady state.
13       A. Probably not.                               13       Q. And what about the significance, if
14         This was his third day of having the         14   any, of the finding or the result with respect
15   patch on, or late into his second day of having    15   to Norfentanyl?
16   the patch on. He, therefore, had used over half    16       A. Norfentanyl?
17   the drug that was in the patch already by virtue   17         Let me just check to see if Norfentanyl
18   of going through the skin.                         18   is an active metabolite.
19         The level of 1.2 is not that great, but      19         Norfentanyl is one of the first
20   it always has to be reviewed with the              20   metabolites. It says norfentanyl has been found
21   understanding of postmortem redistribution.        21   in human plasma at levels similar to that of the
22         In fact, there' another article just         22   parent drug. It's detectable at the 72 hours of
23   came out last month in the "Journal of Medical     23   concentrations in urine also.
24   Toxicology" by an author Gill, G-I-L-L. So if      24         It doesn't say here whether it's
25   you want to check that one out.                    25   metabolically active or not.
                                                                            16 (Pages 58 to 61)
                         BIG SKY REPORTING - FRANCES L. MOCK
                  (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                                92
      Case 1:17-cr-00077-SPW Document 58-9 Filed 09/04/18 Page 3 of 5
                                           Page 62                                                 Page 64
 1          All you can state-- all I can state,         1           And if they took away, the other two
 2   based upon the report, is that norfentanyl was      2   stayed at the same levels we see, again, even
 3   present indicates that his body had metabolized     3   less likely, but he still could have died. So,
 4   it in the liver to the norfentanyl. And the         4   I still can't say that.
 5   contribution, I'm not sure about, if that also      5       Q. All right.
 6   contributed to respiratory depression or not.       6           (Getting exhibits organized.)
 7       Q. So, am I correct that none of these          7   BY MR. EMERY:
 8   four drugs that you listed in the -- as             8       Q. I'm looking, Dr. Bennett, at Exhibit Q,
 9   combining to kill him, by themselves would have     9   which is the -- what is this again?
10   done so?                                           10       A. This is the rough draft of the
11       A. I would not opine that any one of those     11   coroner's report accompanying the death of
12   drugs would have been lethal in and of itself.     12   Mr. Monaco. I believe Officer Fehr prepared
13          I would state that since you have three     13   that at the scene and brought it with him just
14   narcotics and one benzodiazepine, all of which     14   so I'd have at least something to look at.
15   have central nervous system activities, they       15       Q. In the lower left corner, there is a
16   contributed. Their effects would be at least       16   box that says "Person Discovering Deceased"?
17   additive.                                          17       A. Pointing to his wife, Kathy Monaco.
18       Q. Can we go further, drill down on that       18       Q. And then there's some handwriting here,
19   and talk about which one was more of a cause       19   at the top of which, it says, "3 ruptured
20   than the other?                                    20   discs"?
21          Are you following me?                       21       A. Yes.
22       A. I think so.                                 22       Q. Do you know whose handwriting that is?
23       Q. I mean, can you say, for example, that      23       A. It looks like Chad Fehr's.
24   75% of the cause of the death was Fentanyl, or     24       Q. And do you know what he's talking
25   50%, or they're all equal? Can we break it down    25   about?
                                           Page 63                                                 Page 65
 1   any further like that?                              1       A. Probably when he talked with
 2      A. I wouldn't.                                   2   Ms. Monaco, she told him that he had three
 3         I'd say of all the drugs present, the         3   ruptured discs and gave him all that
 4   Meperidine appears to be the least potent and,      4   information.
 5   thus, at the least amount. But even the             5       Q. And she -- and I think we've seen this
 6   narcotics have different postmortem                 6   elsewhere in the exhibits, that he took some
 7   redistribution.                                     7   medication at 11:30 p.m., and then she found him
 8         So with all this, I wouldn't break it         8   at 6 a.m.?
 9   down to percentagewise saying his Oxycodone was     9       A. Yes.
10   50%, the Fentanyl was 49% or, you know,            10       Q. Do you know what -- and I don't recall
11   whatever. I wouldn't do that.                      11   seeing elsewhere this reference to "leg
12      Q. And a slightly different twist on that       12   spasms".
13   same kind of analysis. Can you eliminate one of    13       A. I don't recall what that is either.
14   these and say if that wasn't in there, then he     14       Q. Now I'm looking at Exhibit R.
15   wouldn't have died?                                15          And under the "Decomposition", can you
16      A. No.                                          16   interpret?
17      Q. Can you say if two of them weren't in        17       A. Sure. I just checked "None".
18   there, then he still wouldn't -- or he would not   18          What I usually mean by that is, I do
19   have died?                                         19   start to see evidence of gross deterioration.
20      A. Can't say that.                              20   Then like two to three days after a person dies,
21         All I can say is that if you remove any      21   you start to get bacterial growth in the body.
22   one of those drugs, and the other three would      22   The rigor mortis disappears because the cells
23   stay at their same levels, it would be less        23   are breaking down themselves even, and I didn't
24   likely, but I couldn't say he wouldn't have        24   see that.
25   died.                                              25       Q. With respect to rigor mortis, you
                                                                            17 (Pages 62 to 65)
                         BIG SKY REPORTING - FRANCES L. MOCK
                  (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                               93
      Case 1:17-cr-00077-SPW Document 58-9 Filed 09/04/18 Page 4 of 5
                                           Page 66                                                 Page 68
 1   circled "early", "mild", "throughout".              1   the question of literature.
 2        A. Yes.                                        2         Tell me, what do these show?
 3        Q. What does that mean?                        3       A. Well, there are just four articles I
 4        A. That meant that it was -- "mild" is a       4   pulled out. Two from the American literature
 5   very subjective term, just how stiff are the        5   and two from the British literature.
 6   muscles.                                            6         The "Annals of Pharmacotherapy" have an
 7          Obviously it's like, you know, if            7   article here talking about the Fentanyl
 8   there's no, then it's flaccid. It's just loose.     8   transdermal system. They call it various
 9   "Mild" means there's some stiffness.                9   things, IONSYS, iontophoretic -- what's it
10          "Marked" means that it's just so rigid      10   called here -- yeah, Iontophoretic Transdermal
11   you can basic -- you can barely open the muscles   11   Fentanyl System, the Fentanyl Patch.
12   back up again to do your examination, okay.        12         Let's call it Fentanyl Patch from now
13          So, just mild. It was present.              13   on.
14          When I did break it by, say, I              14         But that's one thing saying it may
15   straightened his arms out, he would re-form in     15   serve as an alterative mode for the management
16   that position, which means his muscles hadn't      16   of acute pain in the postoperative period.
17   completely gone into the process of rigor          17         The manufacturers for the longest time
18   mortis. So, it just tells me he's in those         18   and general belief was that Fentanyl is great
19   first few hours.                                   19   intravenous in surgery or in the acute stage,
20          Usually 12 hours after death, you start     20   but if you're going to put someone into it, it's
21   to get late, where it won't re-form once you put   21   usually a chronic pain patient who's not
22   the body in a new position. So, it just says       22   reacting, or is responding to other methods of
23   it's the early -- you know, less than 12 hours     23   narcotic pain relief. And it was discouraged,
24   of death based upon that.                          24   if not contraindicated, to use it in the acute
25        Q. And what about "Lividity"? You put         25   postsurgical place.
                                           Page 67                                                 Page 69
 1   "red-violet". What does that mean.                  1          There is a letter here in the --
 2       A. Red-violet is the color.                     2       Q. And is this article saying otherwise,
 3          When you know -- you know why your           3   is that what you're saying?
 4   veins are blue is because the -- taking the         4       A. This is suggesting here in 2006 that it
 5   oxygen out of the blood gives it a darker color,    5   may be an alternative managed -- or mode for the
 6   so that light reflects the bluish color or the      6   management of acute pain.
 7   deeper violet color.                                7          And that's comparing it because it's
 8          And it's just the change by virtue of        8   just a patch on the skin, comparing it to
 9   deoxygenated blood.                                 9   somebody who has the morphine pump. You have to
10          When you die, your tissues still use up     10   worry about preparing the drug, getting the
11   all the oxygen in the blood, so your blood         11   i.v.'s access, keep it clean and everything
12   starts to get darker reddish-violet color.         12   else.
13          It is on his back because he was found      13          A patch is easier than intravenous
14   on his back. And it was early fixed, which         14   drugs or the morphine pump, so they're saying
15   means -- well, in the first 8 to 12 hours after    15   let's try and use it. This suggested it could
16   a person dies, the blood stays in the vessels in   16   be used.
17   a liquid condition usually, and can -- if you      17          This is as a Letter to the Editor in
18   turn the person over, it will now settle through   18   2002 in the answer "Anesthesia Analgesia
19   gravity to the new lowest position.                19   Journal", which says -- down here, it's
20          After 12 hours, blood vessels become        20   Page 781, the bottom of the first paragraph,
21   more porous; the blood leaks out. It's fixed in    21             "...these data support
22   that spot, so if you turn a person over, it        22            our conclusion that
23   won't change.                                      23            transdermal fentanyl
24       Q. Okay.                                       24            patches are unsuitable for
25          Now I'm showing you Exhibit S, which is     25            postoperative pain
                                                                            18 (Pages 66 to 69)
                         BIG SKY REPORTING - FRANCES L. MOCK
                  (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                                94
      Case 1:17-cr-00077-SPW Document 58-9 Filed 09/04/18 Page 5 of 5
                                           Page 70                                                 Page 72
 1            management, and the                        1   because you recognize that the pain from surgery
 2            possibility of variability                 2   will go away.
 3            in absorption should be                    3         The chronic pain beneath that is
 4            considered."                               4   something else to deal with, so you wait for the
 5          You have to worry about that.                5   postoperative pain to go away before you put
 6          Since you're using a -- and the reason       6   them on something as strong, as potent, and it's
 7   being is, when you're using a system like the       7   used for chronic pain, like Fentanyl. Use them
 8   patch, it depends on having intact skin, but        8   something else, like the Oxycodone. Use them
 9   also it's increasing heat over the area will        9   like whatever else might be, the MS Contin, or
10   increase absorption rate.                          10   something else. Morphine pump, whatever.
11          And I've had cases where I -- well, I       11         They don't recommend the Fentanyl,
12   did an autopsy on one guy that put a hot water     12   which is the best drug for -- most patients will
13   bottle over it to increase absorption.             13   be on it probably the rest of their lives.
14          I had one person that actually took         14      Q. So what these articles are talking
15   blue surgical towels and put a hot charcoal        15   about is a debate about whether to use Fentanyl
16   briquet on top of it, knowing that it would        16   within with the postoperative period?
17   increase absorption, and it actually burned the    17      A. Correct.
18   outer layer of that hot towel.                     18      Q. And the gist I'm getting from you is
19          So, I've seen abuse of it using the         19   that three of these say yes, and one of them
20   heat factor.                                       20   says no, to be very crude about it?
21          You worry about with heat, that you may     21      A. Well, one says no, and the other two
22   absorb the Fentanyl too fast. That's a worry.      22   say it may be good.
23   That's one of the factors they worry about in      23      Q. Okay.
24   this -- surgical pain patients.                    24      A. So, that's where we're left.
25          Then I just have two other articles         25         MR. EMERY: Let's take a break.
                                           Page 71                                                 Page 73
 1   from the British literature, 2007, and they both    1           MR. HAGEMAN: We'll go off the record.
 2   say that it may be good again. So, just the         2   The time is 3:11.
 3   fact that it's been discouraged for a long time,    3           (Off the record.)
 4   it may be good. The British literature likes to     4           MR. HAGEMAN: We're back on the
 5   use it a lot. But there is some controversy         5   record. The time is 3:17.
 6   about it.                                           6   BY MR. EMERY:
 7       Q. What do you mean by "postoperative"?         7       Q. Doctor, was there anything in the
 8       A. Postoperative is after surgery.              8   autopsy that pointed to or pointed away from
 9       Q. How long?                                    9   this patient having sleep apnea?
10       A. Right afterwards.                           10       A. And sleep apnea is a functional
11       Q. Can you quantify it?                        11   disturbance, not necessarily a structural
12       A. Within a few days.                          12   finding to go along with it.
13       Q. Can you quantify it in hours? How many      13           It's one where obesity is common with
14   hours postoperatively is the postoperative         14   it, and that's about all you can say.
15   phase?                                             15           He could have had sleep apnea. It
16       A. Mm, usually what they are trying to         16   was never diagnosed. I guess anecdotally,
17   say is that if we -- my understanding of this,     17   Dr. Schneider says his wife said he would snore
18   again it's just my understanding because I don't   18   a lot and have periods where he didn't breathe.
19   prescribe it, and I never prescribed Fentanyl      19   So, it may be, but it was never diagnosed.
20   Patches.                                           20       Q. And there's nothing in your autopsy
21         But my understanding having worked with      21   that could confirm or refute that?
22   Fentanyl cases for years and years, is with a      22       A. No.
23   couple days. Now, in hours, that would be          23           All I can say is that he has the
24   48 hours, 72 hours, 96 hours, something like it.   24   obesity, which is one of the major risk factors
25         You don't use it for postoperative pain      25   for it.
                                                                            19 (Pages 70 to 73)
                         BIG SKY REPORTING - FRANCES L. MOCK
                  (406)248-4064 Fax:(406)256-5525 E-Mail:fran848@bresnan.net

                                                95
